                                                                                         IN THE UNITED STATES DISTRICT COURT
                                                                                              FOR THE DISTRICT OF ALASKA

                                                                    KATMAI WATER TAXI, LLC,
                                                                                  Plaintiff,

                                                                              v.

                                                                    NW BEND BOATS, LLC d/b/a                                 Case No. 3:21-cv-00110-SLG
                                                                    NORTH RIVER BOATS,                                       IN ADMIRALTY UNDER RULE
                                                                                   Defendant.                                9(h)


                                                                              FIRST AMENDED COMPLAINT OF KATMAI WATER TAXI, LLC

                                                                         Plaintiff KATMAI WATER TAXI, LLC (“Katmai” or “KWT”), files this First Amended

                                                              Complaint1 in Admiralty under Rule 9(h) of the Federal Rules of Civil Procedure against

                                                              Defendant NW Bend Boats, LLC d/b/a North River Boats (“North River” or “NRB”) and would

                                                              respectfully show as follows:
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                                                                                                              THE PARTIES
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                                                                         1.        KWT is a limited liability company organized and existing pursuant to the laws
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                                                              of the State of Alaska. KWT’s principal place of business is in King Salmon, Alaska, which is

                                                              within this District.

                                                                         2.        NRB is an Oregon limited liability company organized and existing pursuant to

                                                              the laws of the State of Oregon. NRB may be served by and through its registered agent for

                                                              service of process, Brent Hutchings, 1750 Green Siding Road, Roseburg, OR 97471.

                                                                                                    JURISDICTION AND VENUE

                                                                         3.        Personal jurisdiction exists over NRB in this District because the negligent acts

                                                              and/or omissions of NRB giving rise to these claims occurred in Alaska. KWT is an Alaskan




                                                                1
                                                                    This First Amended Complaint is filed with the permission of the Court. Doc. 33.

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                                                              entity. Alternatively, the acts, errors, and omissions of NRB giving rise to the alternate breach

                                                              of contract claim occurred in Alaska. Complete diversity exists between the parties.

                                                                     4.      Subject matter jurisdiction.

                                                                                       a.    KWT alleges and contends that NRB committed a maritime tort,

                                                                             making this action an Admiralty and Maritime Claim within the meaning

                                                                             of Federal Rule of Civil Procedure 9(h). Thus, subject matter jurisdiction is

                                                                             appropriate under 28 U.S.C. §1333, insofar as the alleged negligence involved the

                                                                             operation of a vessel, occurred on navigable waters, with a genuine (not just

                                                                             potential) disruption of maritime commerce, as well as exhibits a significant

                                                                             relationship to traditional maritime activity (passenger transportation).

                                                                                       b.    Alternatively, diversity jurisdiction is proper (either for a tort

                                                                             claim or the alternate breach of contract claim) under 28 U.S.C. § 1332, as the
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                                                                             amount in controversy exceeds $75,000 and the parties are citizens of different
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                                                                             states.

                                                                     5.      Venue is proper in this District under 28 U.S.C. §1391(b) because a substantial

                                                              part of the events or omissions giving rise to the claim occurred within the same.

                                                               BACKGROUND INFORMATION REGARDING KWT AND NRB’S RELATIONSHIP

                                                                     6.      KWT, formed in 2018, is the sister company of Alaska’s Gold Creek Lodge, LLC.

                                                              KWT is located in Southwest Alaska in King Salmon, Alaska, which is near the Katmai National

                                                              Park and Preserve (“KNPP”).

                                                                     7.      In 2018, KWT secured a 2-year conditional contract with the U.S. National Park

                                                              Service (“NPS”) where KWT could operate a passenger boat to transport park visitors to Brooks




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                                                              Falls, Alaska in KNPP from June 1 until September 25. Following the conclusion of the second

                                                              year, KWT would be eligible to bid for a 10-year exclusive contract for the same trip.2

                                                                         8.      KWTs business model is simple: rather than hire small, noisy float planes to take

                                                              passengers in small groups, KWT’s water taxi would depart from Lake Camp and travel 45

                                                              minutes inland to Brooks Falls in KNPP to view bears feasting on salmon spawning upstream over

                                                              small waterfalls. KWT’s business was the first of its kind in KNPP.3
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                                                                         9.      As is shown below and will be shown in the course of this litigation, KWT believed

                                                              it was reasonably projected to earn over $2,000,000 in annual revenue over this 3-month period.

                                                                         10.     On or about February 16, 2019 KWT entered into the first of a series of Purchase

                                                              Orders with NRB. In exchange for the total price of $708,000.00, NRB was to design,



                                                                2
                                                                    Due to the COVID-19 global pandemic, NPS extended the 2-year conditional contract by one additional year.
                                                                3
                                                                 The image above is from the KNPP website, which actually offers a “bear cam” where one can watch the bears.
                                                              See https://www.nps.gov/katm/planyourvisit/bear-watching.htm.

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                                                              manufacturer, test, certify, and deliver a 2018 38’ Liberty Sub T – Twin Diesel Jet 24-passenger

                                                              water taxi dubbed “Otis.” As part of this purchase, KWT and NRB specifically agreed on a line

                                                              item for sea trials and United States Coast Guard (“USCG”) approval for the Otis.

                                                                         11.     In contrast to small, noisy float planes, Otis is a large, enclosed water taxi with

                                                              spacious seating. Otis provides easier access to handicapped and elderly guests, is able to carry

                                                              more luggage and gear, and because it is on the water as opposed to flying above it, Otis is less

                                                              affected by weather conditions (such as fog or wind) that would otherwise ground float planes.

                                                              Finally, the cost of a ticket on Otis is considerably cheaper than using a float plane. In short, Otis

                                                              is a unique, cheaper, and more efficient travel option for the thousands of annual travelers to

                                                              Brooks Falls than using float planes to view the bears.

                                                                         12.     The construction of Otis was substantially complete on or about April of 2019.

                                                              NRB issued a manufacturer’s Certificate of Origin on May 1, 2019. It should be undisputed that
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                                                              the Otis is a vessel under the meaning of United States Admiralty and Maritime law.4
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                                                                         13.     Regrettably, only days before KWT was to take possession and title of Otis and as

                                                              laid out in greater detail below, on June 1, 2019 NRB’s Director of Sales and unlicensed “captain”

                                                              Mike Blocher ran the Otis aground during sea trials. As this Complaint details, the negligence of

                                                              NRB in using Blocher to conduct the sea trials in Alaska was, is, and may very well continue to

                                                              be devastating to KWT’s business and reputation, as well as to KWT’s future prospects to earn a

                                                              10-year exclusive transportation contract with the National Parks Service.

                                                                                                        THE ACCIDENT

                                                                         14.     On May 31, 2019 Otis launched from Lake Camp, intending to travel up the

                                                              Naknek River towards Brooks Falls. This trip was part of the Otis’ sea trials for the USCG.




                                                                4
                                                                    See 1 U.S.C. §3.

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                                                                       15.    NRB’s agent and Director of Sales Mike Blocher was in sole command and control

                                                              of the vessel. Blocher was responsible for piloting the Otis through a narrow channel of water

                                                              exiting the Naknek River towards the Naknek Lake entrance. Unknown to KWT at the time,

                                                              Blocher did not possess the required United States Coast Guard license to pilot this vessel.

                                                                       16.    There were only 3 channel markers over a 3-mile stretch in place at the time. Safe

                                                              passage during this first trip was identified solely through visual reconnaissance, i.e. standing on

                                                              the edge of the boat and looking down. This safe passage was then marked on Otis’ Garmin GPS

                                                              for future trips – thus, the GPS data was critical to safe passage through this approximately 3-mile-

                                                              long narrow channel without running aground.

                                                                       17.    The May 31, 2019 trip was cut short when Blocher incompetently failed to ensure

                                                              Otis’ engine room dampers were open and/or operational, forcing Otis to return to the launching

                                                              point.
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                                                                       18.    Mike Blocher’s negligence and incompetence was just beginning. On June 1, 2019
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                                                              at approximately 8 am, under the control of Mike Blocher, the Otis re-launched in the Naknek

                                                              River, intending to travel through the same channel towards Naknek Lake and Brooks Falls. The

                                                              purpose of this June 1, 2019 trip was for NRB to continue sea trials and obtain United States Coast

                                                              Guard approval, which was required to carry more than 6 passengers.

                                                                       19.    Immediately after the boat was launched, the Garmin GPS and instrument panel

                                                              installed by Blocher and NRB malfunctioned, making it either difficult or impossible for Blocher

                                                              to use to safely navigate. The malfunctioning instrument panel was Otis’ sole source for display

                                                              of speed, fuel, heading, water depth, ground profile and GPS location.

                                                                       20.    Without a functioning GPS, Blocher was unable to access and follow the

                                                              coordinates identifying safe passage through the channel marked during the May 31, 2019 trip, yet




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                                                              he proceeded recklessly nonetheless. In other words, Blocher was traveling blind, without

                                                              knowing his speed, heading, water depth, ground profile or safe navigation way points.

                                                                         21.      A reasonable master, faced with an unmarked, winding and narrow underwater

                                                              channel and a malfunctioning GPS would have turned back. Likewise, a reasonable master would

                                                              have obeyed the Inland Rules of Navigation concerning a vessel losing navigational systems.

                                                              Instead, Blocher continued on, blind and reckless.

                                                                         22.      Just prior to entering the unmarked channel, Blocker asked Rob Ellis, untrained by

                                                              NRB to operate the Otis and on board as merely a passenger and observer, to take the helm so

                                                              Blocker could continue to troubleshoot the broken GPS. Blocher then directed Ellis to adjust his

                                                              course to the right (starboard). Seconds later, at Blocher’s direction Ellis exited the channel and

                                                              struck an underwater boulder, grounding the Otis and causing the damages for which KWT now

                                                              seeks to recover.
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                                                                         23.      Otis was left stranded in the mouth of Lake Naknek for 3 days, and was out of
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                                                              commission for an additional 6 weeks for repairs and re-inspections. This time out of service

                                                              constituted over half of the time KWT had been granted to offer this transportation service by the

                                                              National Park Service. KWT was forced to refund hundreds of thousands of dollars in pre-sold

                                                              tickets. NRB’s negligence further threatened the very conditional authorization KWT was

                                                              operating under at the time of this accident and placed KWT’s eligibility to bid for the 10-year

                                                              exclusive contract at risk.

                                                                                            FIRST CAUSE OF ACTION – NEGLIGENCE

                                                                         24.      The facts alleged supra are incorporated by reference.

                                                                         25.      KWT asserts a Claim for negligence under the General Maritime Law of the United

                                                              States (“GML”)5 against NRB. Specifically, NRB, through the conduct of Blocher, owed KWT a


                                                                5
                                                                    Or, alternatively, if Admiralty Jurisdiction does not exist, under Alaska law.

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                                                              duty to competently and safely navigate the Otis during the sea trials. NRB breached that duty,

                                                              and was negligent and negligent per se in the following ways:

                                                                                    a.      Defendant’s agents and employees who were in charge of the

                                                                             navigation of the water taxi as alleged herein were not attentive to their duties

                                                                             and were not maintaining a proper and alert lookout;

                                                                                    b.      Defendant’s agents and employees operated, captained and/or

                                                                             directed the water taxi without the required captain’s license in violation of 49

                                                                             U.S.C. 8905;

                                                                                    c.      Defendant’s agents and employees operated, captained, and/or

                                                                             directed the water taxi without a functioning navigational device in an unmarked

                                                                             underwater shallow channel;

                                                                                    d.      Defendant’s agents and employees failed to anchor the water taxi
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                                                                             and/or return to port when Defendant’s agents and employees were unable to see
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                                                                             or navigate the waterway safely;

                                                                                    e.      Defendant’s agents and employees were unreasonable in their

                                                                             navigation and operation of this vessel; and

                                                                                    f.      Other negligent acts or omissions to be proven at trial.

                                                                     26.     The breaches of these duties owed by NRB to KWT proximately caused KWT

                                                              damages as described below.

                                                                     27.     The aforesaid collision and damages resulting therefrom were not caused or

                                                              contributed to by any fault or negligence of KWT, nor any persons for whom KWT was or is

                                                              responsible, but were caused solely by and due solely to the fault and negligence of NRB and

                                                              its employees and servants in charge.




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                                                                            SECOND CAUSE OF ACTION – NEGLIGENT ENTRUSTMENT

                                                                      28.     The facts alleged supra are incorporated by reference.

                                                                      29.     NRB knew, or in the exercise of reasonable care should have known, that Mike

                                                              Blocher was an unlicensed captain, was incompetent, careless or otherwise unqualified to

                                                              operate the Otis. NRB was negligent in the supplying, entrusting, or lending the Otis to Blocher,

                                                              and the same negligence was the proximate cause of this accident and KWT’s damages.

                                                                               THIRD CAUSE OF ACTION – BREACH OF CONTRACT

                                                                      30.     The facts alleged supra are incorporated by reference.

                                                                      31.     KWT asserts an alternative claim for breach of contract against NRB. Through a

                                                              series of purchase orders, NRB agreed to build, design, manufacture and deliver to KWT a vessel

                                                              that was fully functioning. NRB agreed the delivered vessel would pass sea trials, administered by

                                                              a fully licensed captain and/or master, and thereby obtain United States Coast Guard authorization
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                                                              for the Otis. NRB further agreed to purchase and provide to KWT insurance coverage which would
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                                                              cover the vessel and it’s operations during sea trials and testing.

                                                                      32.     NRB failed to provide a licensed and competent captain and/or master to perform

                                                              sea trials. Indeed, upon information and belief, NRB knew Blocher held no master’s license from

                                                              the USCG, and thus was an inappropriate and unqualified person to conduct the sea trials.

                                                              Nevertheless, NRB sent Blocher to conduct the sea trials, breaching the contract. NRB further

                                                              failed to procure and provide the insurance coverage which it had agreed to provide and for which

                                                              it had already been paid by KWT. As a result, NRB breached its contract with KWT and the same

                                                              was the proximate cause of KWT’s damages, described below.

                                                                      33.     All conditions precedent have been satisfied by KWT.

                                                                                                          DAMAGES

                                                                      34.     KWT incorporates all factual allegations made above.


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                                                                     35.     As a direct and proximate result of the occurrence made the basis of this lawsuit,

                                                              KWT has suffered, sustained and incurred, and in reasonable probability will continue to suffer,

                                                              sustain and incur, the following injuries and damages, among others:

                                                                     36.     Reasonable and necessary repairs to the Otis;

                                                                     37.     Past and future lost profits;

                                                                     38.     Past and future lost business reputation;

                                                                     39.     Past payroll and expenses for the downtime during repairs;

                                                                     40.     Past out of pocket expenses to provide alternative transportation for customers

                                                              expecting to travel on the OTIS; and

                                                                     41.     All other damages to be proven at trial.

                                                                     42.     Finally, to the extent recovery is had on the alternative breach of contract matter,

                                                              KWT requests its reasonable and necessary attorney’s fees.
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                                                                     43.     To the extent allowed by law, KWT requests costs of court, prejudgment interest,
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                                                              and post-judgment interest as allowed by law.

                                                                                                      JURY DEMAND

                                                                     44.     KWT herein demands a trial by jury according to Rule 38 of the Federal Rules

                                                              of Civil Procedure of the above matters for all matters which are not subject to the Admiralty

                                                              and Maritime Action.

                                                                                                PRAYER & CONCLUSION

                                                                     WHEREFORE, PREMISES CONSIDERED, KWT prays that:

                                                                             a.      Defendant be cited to appear and answer herein;

                                                                             b.      Plaintiff be award its damages from Defendant;

                                                                             c.      Plaintiff be awarded its costs of suit;




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                                                                                d.      Pre-judgment and post-judgment interest on all applicable amounts be

                                                                        awarded to Plaintiff at the maximum rate as allowed by law;

                                                                                e.      Plaintiff be entitled to such other and further relief, both at law and in

                                                                        equity, to which it may be justly entitled.

                                                                                                                Respectfully submitted,

                                                                                                                CHAMBERLAIN, HRDLICKA, WHITE,
                                                                                                                WILLIAMS & AUGHTRY, P.C.

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                                                                                                                         Alaska Bar No. 7808066

                                                                                                                ATTORNEYS    FOR     PLAINTIFF
                                                                                                                KATMAI WATER TAXI, LLC




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                                                                Admitted Pro Hac Vice on 6/17/2021 [Doc. 26]
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                                                                Admitted Pro Hac Vice on 6/17/2021 [Doc. 24]
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